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EXH|B|T B

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Brandon H111 |

From: John Bo|anovich [ibolanovich@boginmunns.cor|n]

Sent: Tuesday, January 26, 2016 11:59 AM
To: Brandon Hi||

Cc: Jessica Riiey

Subject: RE: Villa|ba

Attachments: 2015 Financial Report.pdf
|mportance: High

Brandon to supplement my client’s financials attached please find info for 2015 They have advised me that ifthey

cannot settle this by Friday ofthis week they vvi|| be taking steps to dissolve the entity due to the financial uncertainty
attached to your clients ciaim According, please provide me vvith your client’s "best and fina|" offer of settlement for
their consideration on or before Friday Thank you

 

From: Brandon Hi|l [mai!to:bhi|i@vvfc|aw.com]
Sent: Tuesday, January 19, 2016 4:18 PM
To: John Bolanovich
Cc: Jessica Ri|ey
Subject: RE: Vil|a|ba
l
Any luck with financia|s? Our deadline to file motion for defau|tjudgment1s approaching |f vve can resolve vve should
try to do it soon. Thanks John.

Sincere!y,

Brandon

Fr0111: John Bo|anovich lmailto 1bolanovich@boc1inmunns.com]
Sent: Thursday, January 14 2016 1: 14 PM

To: Brandon Hil|

Cc: Jessica Riley

Subject: RE: Vil|a|ba

Sti|| too high for them. lam getting some current financial documents from the client and vvi|| send them to you.

 

From: Brandon Hi|l |mailto:bhi|i@wfc|aw.com]
Sent: Tuesday, January 12, 2016 11:35 AM
To: John Bo|anovich

Cc: Jessica Riley

Subject: RE: Vi||a|ba

Your below offer 15 declined. She countered at 10|<111 damages exclusive of fees. Fees can be resolved for 3|<. |fyou can
send proof that the Defendant has no assets or money, vve might be able to make a more significant drop.

Sincere|y,

Brandon J. Hi|l

WENZEL FENTON CABASSA, P.A.
1110 North F|orida Avenue, Suite 300
Tampa, F|orida 33602

PH: (813) 337-7992

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FX: (813) 229-8712
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WENZEL trenton CABASSA

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From: John Bo|anovich l'mailto:ibolanovich@booinmunns.cornl
Sent: Thursday, January 07, 2016 3:21 PM

To: Brandon Hii|

Subject: Vi||a|ba

Imporl:anoe: High

 

Brandon, | have conferred with our client on your calculation of back pay and attorney's fees. His response is as follows:

We concede she worked for approximately 14 months. We dispute that she worked 40 hours each of those weeks.
There were 4 PT bartenders on staff and the business was only open from Noon to 8:00 p.m. each day. With that in
mind, it would have been impossible for her to work the alleged 2240 hours in that time frame.

Our c|ient's records show that she worked a total of 544 hours. App|ying the tip credit retroactive|y, our client would
only owe her $5.00 per hour for these hours, or $2,720.00.

Our client is willing to settle for the $2,720.00 plus your attorney's fees of $3,000.00 for a total of $5,720.00. Other than
that, they do not have the financial resources to either litigate this case or pay any judgment in sum, they will close
down and go home.

Let me know tomorrow if we have a deal. Of course, you would have to prepare the papers for court approval of the
settlement

Thanks.
John W. Bolanovich

Attorney and Counse|or at Law
Bogin, Munns & Munns, P.A.

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